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                       UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF CONNECTICUT


JACK MONTAGUE,
     Plaintiff,

v.
                                                           CIVIL ACTION
YALE UNIVERSTIY, ANGELA GLEASON,                           No. 3:16-cv-00885-AVC
JASON KILLHEFFER, and OTHERS
UNKNOWN,
     Defendants.



              PLAINTIFF'S MOTION FOR EXTENSION OF TIME
     TO RESPOND AND OBJECT TO DEFENDANT'S INTERROGATORIES AND
               REQUESTS FOR PRODUCTION TO PLAINTIFF

       The plaintiff, Jack Montague, respectfully moves, pursuant to Rule 7(b) of the Local

Civil Rules, for a 21-day extension of time, through and including January 13, 2017, within

which to respond and object to Defendant's Interrogatories and Requests for Production to

Plaintiff (the "Discovery Requests"). As reasons therefore, Plaintiff states:

       1.      Defendants' counsel has indicated that Defendants agree to the requested

extension.

       2.      This is Plaintiff's first request for an extension of his deadline to respond and

object to the Defendant's Discovery Requests.

       3.      Good cause exists to grant this motion because, the day prior to service of the

Discovery Requests, Defendants filed an Opposition to Plaintiff's Motion for Preliminary

Injunction and a Motion to Bifurcate, to which Plaintiff needed to prepare a response. Since

service of the Discovery Requests, Plaintiff has filed a Motion for Leave to File Consolidated

Pleading and Plaintiff's Consolidated Opposition to Defendants' Motion to Bifurcate
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Consideration of Plaintiff's Motion for Preliminary Injunction and Reply to Defendants'

Opposition to Motion for Preliminary Injunction. As well, both parties are actively engaged in

good faith discussions concerning the sequence of discovery in this matter.

       WHEREFORE, Plaintiff respectfully requests that the Court grant this motion for a 21-

days extension of time, through and including January 13, 2017, within which to respond and

object to Defendant's Discovery Requests.

                                             JACK MONTAGUE,

                                             By his attorneys,


                                             /s/ Hillary A. Lehmann
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Dated: December 22, 2016




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                           CERTIFICATE OF SERVICE

I, Hillary A. Lehmann, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic
                            Filing (NEF) on December 22, 2016.

                                             /s/ Hillary A. Lehmann




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